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                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

   ROBERT LEO BREEDEN,

                  Petitioner,

   v.                                                   Civil Action No. 3:05CV67
                                                        Criminal Action No. 3:00CR57-07

   UNITED STATES OF AMERICA,

                  Respondent.

     REPORT AND RECOMMENDATION THAT PETITIONER’S MOTION UNDER
   FED. R. CIV. P. 60(b)(6) BE DENIED AND ORDER DENYING THE GOVERNMENT’S
   MOTION TO RECHARACTERIZE THE MOTION AS A § 2255 PETITION AS MOOT

                                             I. Introduction

          Petitioner, Robert Leo Breeden, was one of twenty-six defendants in a sixty-three count

   indictment related to distribution of crack cocaine returned December 5, 2000. Defendant pleaded

   guilty to Count 28 of the indictment charging distribution of .44 gram of crack cocaine within 1,000

   feet of a school on February 1, 2001.     Defendant was sentenced to 188 months imprisonment

   May 9, 2001. The United States Court of Appeals for the Fourth Circuit granted the Government’s

   Motion to Dismiss petitioner’s appeal December 3, 2001.

          Petitioner filed his first motion under 28 U.S.C. § 2255 on June 10, 2002. The motion was

   denied June 7, 2003. Petitioner appealed and the Fourth Circuit denied his appeal, and it was

   dismissed April 4, 2003.

          Petitioner filed his second motion under 28 U.S.C. § 2255 on July 14, 2004. The motion was

   denied May 6, 2005 for lack of jurisdiction as a second or successive petition.
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          Petitioner filed his third motion under 28 U.S.C. § 2255 on June 6, 2005, and under 28

   U.S.C. § 2241 on August 12, 2005. The motions were denied December 27, 2005 for lack of

   jurisdiction as a second or successive petition.

          Petitioner filed this Motion for Relief From Judgment under Fed. R. Civ. P. 60(b)(6)

   April 13, 2006. In response the Government filed a Motion Requesting the Court to give Notice to

   Petitioner Recharacterizing His Motion as a Petition under 29 U.S.C. § 2255 on November 7, 2008.

          Petitioner’s First Motion Under 28 U.S.C. § 2255 was decided on the merits.

                                               II. Analysis

          A.      Contentions of the Parties

                  Petitioner contends his counsel was ineffective because Petitioner’s presentence

   report included two charges which should not have been used in calculating his criminal history

   category to which counsel did not object and his counsel filed a misplaced and unwarranted

   discovery motion. Finally, Petitioner claims prosecutorial misconduct in failing to verify the

   information in the presentence report.

                  The Government contends Petitioner’s 60(b) motion is to circumvent the bar to

   second and successive petitions under AEDPA.

          B.      Discussion

                  In United States v. Winestock, 340 F. 3d 200, 206 (4th Cir. 2003), the Court

   expressly held that District Court must treat Rule 60(b) motions as successive petitions if failing to

   do so would allow a petitioner to avoid AEDPA’s bar against relitigation of the same claim or

   litigation of claims not presented in the prior petition. The decision gave a guide to determine

   whether a Rule 60(b) Motion was a true 60(b) motion or a disguised successive petition. A motion


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   directly attacking a prisoner’s conviction would be a successive petition while a motion seeking

   review of an alleged defect in the review process would be a proper 60(b) motion. Id at 207.

                   There have been concerns raised by some that dicta in footnote 6 of Gonzalez v.

   Crosby, 545 U.S. 524 (2005) indicates a 60(b) motion is not barred as a successive petition when

   the original § 2255 motion was not decided on the merits. However, in this case petitioner’s first

   § 2255 motion was decided on the merits. In addition, Petitioner has filed second and third § 2255's

   have been dismissed for lack of jurisdiction as successive petitions.

                   Petitioner’s Rule 60(b)(6) motion attacks his conviction claiming ineffective

   assistance of counsel and prosecutorial misconduct. Clearly petitioner is attacking his conviction

   and not alleging a defect in the review process. Under Winestock, this Court must find what

   petitioner characterizes as a 60(b) motion as a successive petition and dismiss the same for lack of

   jurisdiction.

           C.      Recommendation and Order

                   For the foregoing reasons, it is recommended that the Motion Under Fed. R. Civ. P.

   60(b) be DENIED AS A SUCCESSIVE PETITION, and the Government’s Motion Requesting

   the Court Recharacterize the Motion as a § 2255 Petition be DENIED AS MOOT.

           Any party who appears pro se and any counsel of record, as applicable, may, within ten (10)

   days from the date of this Recommendation and Order, file with the Clerk of the Court written

   objections identifying the portions of the Recommendation and Order to which objection is made,

   and the basis for such objection. Failure to timely file objections to the Recommendation and Order

   set forth above will result in waiver of the right to appeal from a judgment of this Court based upon

   such Recommendation and Order.


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          The Clerk of the Court is directed to provide a copy of this Recommendation and Order to

   parties who appear pro se and all counsel of record, as applicable, as provided in the Administrative

   Procedures for Electronic Case Filing in the United States District Court for the Northern District

   of West Virginia.

          DATED: January 14, 2009




                                                         /s/James E. Seibert
                                                         JAMES E. SEIBERT
                                                         UNITED STATES MAGISTRATE JUDGE




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